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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI INC., f/k/a Ubiquiti Networks,
    Inc.,

                             Plaintiff,
                                                      Civil Action No.: 1:18-cv-05369
                        v.
                                                      JURY TRIAL DEMANDED
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.; BLIP
                                                      Hon. J. Gary S. Feinerman
    NETWORKS, LLC; WINNCOM
    TECHNOLOGIES, INC.; SAKID
    AHMED; and DMITRY MOISEEV

                             Defendants.


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on July 15, 2020 at 9:00 a.m., the undersigned shall
appear before the Honorable Gary Feinerman in Courtroom 2125 of the Dirksen Federal
Building, 219 S. Dearborn Street, Chicago, Illinois, and shall then and there present Plaintiff
Ubiquiti Inc.’s Motion for Leave to File Under Seal, a copy of which is herewith served upon
you.


Dated: June 8, 2020                        Respectfully submitted by:

                                           FOX SWIBEL LEVIN & CARROLL LLP


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                                   Attorneys for Plaintiff Ubiquiti Inc., f/k/a Ubiquiti
                                   Networks, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on June 8, 2020, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.


                                                   /s/    Erik J. Ives
                                                          Erik J. Ives




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